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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE:                                        )       CHAPTER 11
                                              )
         NATALJA VILDZIUNIENE,                )       CASE NO. 19-22967
                                              )
                       DEBTOR.                )       HON. TIMOTHY A. BARNES

   REPLY TO RESPONSE TO MOTION TO VACATE OCTOBER 16, 2019, ORDER
  AUTHORIZING DEBTOR AND DEBTOR IN POSSESSION TO RETAIN COUNSEL

         Now comes Patrick S. Layng, the United States Trustee for Region 11 (the “U.S. Trustee”),

by his attorney, Jeffrey S. Snell, and in reply to the arguments and contentions in the Response to

the Motion to Vacate October 16, 2019, Order Authorizing Debtor and Debtor In Possession to

Retain Counsel (the “Response”) [Dkt. 243], respectfully states to the Court as follows:

         1.     Mr. de’Medici was introduced to the debtor by James Ayres, Sr., a creditor asserting

a secured claim against real property held by this estate that he obtained less than one year before

the bankruptcy filing in the weeks preceding the Debtor’s divorce trial. Mr. Ayres did not represent

the debtor at her divorce trial, but, with his then-recently obtained $25,000 mortgage to serve as a

credit line for legal services, he sat in to observe the entire proceeding. After the divorce court

issued its ruling, Mr. Ayres entered his appearance and filed a motion to reconsider, arguing the

debtor was inadequately represented at trial and urging the court to reverse various of its rulings,

including the ruling pertaining to Mr. Ayres’ own present client and former attorney, Joseph

Gentleman. The motion to reconsider was denied in its entirety. But $1,107.20 in fees attributable

to the divorce case is part of Mr. Ayres partially secured claim in this matter, as is $8,420 for his

work on the pending appeal of the divorce judgment. (See Proof of Claim 20-1, p. 3.) In his Rule

2014 statement supporting the application that led to entry of the October 16, 2019, Order

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(the “Employment Order”) [Dkt. 44], Mr. de’Medici did not disclose that Mr. Ayres introduced

him to the debtor by contacting him, arranging for, and then attending, his interview with the debtor

that resulted in his selection for the filing of this case.

        2.      The affidavits of Natalja Vildziuniene, Mr. de’Medici, and Mr. Ayres attached to

the Response emphasize that the decision to hire Mr. de’Medici was the debtor’s alone. The

affidavits indicate that Mr. Ayres attended the debtor’s interviews of Mr. de’Medici and a second

prospective bankruptcy attorney to “provide relevant information.” (See Ayres Affidavit, at 10;

Vildziuniene Affidavit at 6.) Messrs. Ayres’ and de’Medici’s Affidavits aver that they had no

business relationship or intention to refer each other clients at the time of the initial interview

meeting with Ms. Vildziuniene. (See de’Medici Affidavit at 6; Ayres Affidavit at 16-17.) Notably,

the affidavits do not speak to whether the estate’s employment of Mr. Ayres as special counsel

was discussed at the initial meeting or in the prior communication(s) between Messrs. de’Medici

and Ayres.

        3.      The Response argues that Mr. de’Medici had no obligation to disclose Mr. Ayres’

role in facilitating his (Mr. de’Medici’s) employment. (See Response, p. 6, section titled “Ayres

Introduction Was Too Remote To Create A Materially Adverse Interest Or To Require

Disclosure.”) The U.S. Trustee disagrees that the connection is “too remote” to require disclosure;

the connection to the creditor was the “but for” cause of Mr. de’Medici’s retention. As the U.S.

Trustee noted in the pending motion, the introduction “could raise a question in reasonable minds

as to what kind of a position Mr. de’Medici is in to challenge the secured claim of Mr. Ayres,

under 11 U.S.C. § 548 or otherwise, if appropriate.” (Motion to Vacate, ¶ 13.)

        4.      The Response correctly points out that the caselaw cited in the Motion to Vacate

does not involve the same factual circumstances that exist here. (See Response, p. 6 (“None of the




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cases cited by the US Trustee involve circumstances even remotely comparable to the case at

hand…”)) The U.S. Trustee cited cases enunciating the general principles that full and complete

disclosure is required. If the debtor and Mr. de’Medici have caselaw that is on point with the factual

circumstances here (where a secured creditor with a questionable claim and probable aspirations

to be employed as special counsel by the estate facilitated a debtor-in-possession’s counsel’s

retention, and the benefiting counsel then omitted the connection in his Rule 2014 statement), they

failed to cite it in the Response.

        5.      The Response seeks to set the bar for disclosure below what is required by the

Federal Rules of Bankruptcy Procedure. Rule 2014(a) requires an applicant to state in the

application, and the person to be employed to state in an accompanying verified statement, the

person’s “connections with the debtor, creditors, any other party in interest, their respective

attorneys and accountants, the United States trustee, or any person employed in the office of the

United States trustee.” Fed. R. Bankr. Proc. 2014(a). According to the Response, requiring a

proposed estate professional to disclose that a creditor helped facilitate the person’s hiring would

“change long-standing practice in this District without any notice.” (Response at 8.) The U.S.

Trustee hopes that there is not a long-standing practice of such omissions in this District. If there

is, he isn’t aware of it.

        6.      The Response makes arguments addressing issues with Mr. de’Medici’s continued

employment beyond what is implicated by the Motion to Vacate, to wit: that Mr. de’Medici’s

business relationship with Mr. Ayres that commenced post-petition is not disqualifying. If Mr.

de’Medici wants the Court to rule on the permissibility of him remaining counsel to the estate

while carrying on a business relationship with a creditor, he should bring a motion. It is the debtor’s

burden to show that the counsel she wants to represent the interests of the estate is disinterested.




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Interwest Bus. Equip. v. United States Trustee (In re Interwest Bus. Equip.), 23 F.3d 311, 318 (10th

Cir. 1994). The debtor’s and Mr. de’Medici’s attempt to obtain approval of his business

relationship with Mr. Ayres through a response to the Motion to Vacate is procedurally improper,

and turns the employment process of § 327 on its head.

       7.      The Response curiously tries to implicate the U.S. Trustee in Mr. de’Medici’s non-

disclosure, announcing “[Mr.] de’Medici voluntarily disclosed that the introduction [by Mr. Ayres

to the debtor] had occurred” and then asserting in an accompanying footnote: “The US Trustee did

ask de’Medici in late July 2020 whether Ayres had introduced him to the Debtor, but he did not

demand that [Mr.] de’Medici disclose this information to the Court.” (Response, p. 8, fn. 3.) If the

Response means to cast the impression that the U.S. Trustee did not believe the connection was

significant because there was not a “demand” to Mr. de’Medici that he correct his sworn Rule

2014 statement, then the Response is mistaken. If the Response means to imply that Mr.

de’Medici’s supplemental Rule 2014 statement filed Sunday, July 26, 2020, was completely

independent of the U.S. Trustee’s July 24, 2020, inquiry, then the U.S. Trustee can only observe

the circumstantial fact that the two events occurred within 48 hours of each other.

       8.      Full disclosure by a proposed estate professional of his or her connections is critical

to the integrity of the bankruptcy system, and it is required by the Rules. Full disclosure did not

happen here. Because the U.S. Trustee is not privy to the full details and history of the

de’Medici/Ayres relationship, he moved to vacate the Employment Order rather than moving to

disqualify Mr. de’Medici as counsel. While the Response makes clear that the debtor and Mr.

de’Medici would like to argue the factual details of the de’Medici/Ayres relationship (that they

have now tardily disclosed a few general details of) to assert that Mr. de’Medici is eligible today




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to be employed by this estate under § 327(a) (while contending it is the U.S. Trustee’s burden to

prove otherwise), that is not the procedural posture of the Motion to Vacate. And nor should it be.

        9.      If Mr. de’Medici had disclosed that Mr. Ayres arranged for his meeting the debtor,

his employment may well have been approved. Or the application may have been denied after

inquiry. What certainly would have happened is further questions would have been asked of Mr.

de’Medici, and closer scrutiny would have been paid to Mr. Ayres’ claims. Because full disclosure

was not made, these inquiries did not occur.

        10.    Almost a year after entry of the Employment Order, the debtor and Mr. de’Medici

stand before the Court downplaying disclosure obligations while suggesting that the estate can

retain conflicts counsel to deal with Mr. Ayres’ claim in the future:

        […] de’Medici has not shown any favoritism towards Ayres or his claim. Indeed, no actual
        conflict yet exists. Nothing has occurred with respect to Ayres’ claim because a date for
        objections to claims has not been set. The parties will not know if Ayres’ alleged secured
        status even matters (because there is a lien ahead of him) until the relevant property is sold.
        At that time, if there is equity in Ayres’ claim (unknown), and if Ayres does not voluntarily
        relinquish his security interest (a possibility), the Debtor can retain conflicts counsel.

(Response, p. 10.) On the one hand, the Response contends it “is doubtful” that Mr. de’Medici was

even required to disclose that Mr. Ayres introduced him to the debtor. (Id., p. 8.) On the other

hand, the Response tries to reassure by announcing that the estate will retain conflicts counsel to

deal with Mr. Ayres claim at some future date, if necessary. 1 (Id., p. 10.) These two irreconcilable



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  It is theoretically possible, as the Response suggests, that there could be no value to support Mr.
Ayres’ security interest. But realization of this possibility would require real estate values in Park
Ridge, Illinois to plummet. At the time the court in the divorce proceeding dealt with Mr. Ayres’
(then-surprise) mortgage, there was ample equity in the property so that the court could safely
allocate payment of the mortgage to the debtor’s 50% interest. At the time the debtor filed this
bankruptcy proceeding, there was ample equity in the property to secure the Ayres’ interest. (The
debtor’s schedules obscure this point by characterizing the first mortgage of Suntrust Bank as a
“statutory lien and showing it as applicable to only the debtor’s 50% of the Dee Road property.
But in reality, the $461,951 1st position mortgage is secured by the entire property, which the
debtor valued at $711,400 in Schedule A/B.)


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lines of argument illustrate the reality of the situation.

        11.     The Court and all parties should be provided complete and accurate information

when the debtor, as debtor-in-possession, seeks to employ a professional for the estate. That did

not happen with the application to employ Mr. de’Medici. The U.S. Trustee respectfully submits

that the Employment Order should be vacated under Rule 60(b).

        WHEREFORE, the U.S. Trustee respectfully requests that the Court vacate the

Employment Order and grant any other and further relief as is just.

                                                        RESPECTFULLY SUBMITTED:

                                                        PATRICK S. LAYNG,
                                                        U. S. TRUSTEE

Dated: September 21, 2020                               /s/ Jeffrey S. Snell
                                                        Jeffrey S. Snell, Trial Attorney
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The U.S. Trustee does not feel the need to dispute factual “stretches” in the Response that are not
germane to the Motion to Vacate pending before the Court. By not specifically disputing a factual
claim or conclusion, the U.S. Trustee is not agreeing to the merits of the assertion.



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                                CERTIFICATE OF SERVICE

       I, Jeffrey S. Snell, an attorney, certify that I caused a copy of above REPLY to be served
on each entity shown on the attached service list at the address shown and by the method indicated
on September 21, 2020, before 5:00 p.m.

                                                      /s/ Jeffrey S. Snell

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